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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                               Case Nos. 09-CR-0109 (27) (JNE);
                                                                16-CV-2444 (JNE)
                        Plaintiff,

 v.                                                                    ORDER

 EMETERIO OCHOA MUNOZ,

                        Defendant.



       On June 20, 2016, defendant Emeterio Ochoa Munoz filed a “petition for writ of

[certiorari]” referencing Johnson v. United States, 135 S. Ct. 2551 (2015), and seeking relief

from the sentence imposed in this matter. See ECF No. 1316. This Court noted that the relief

requested in that petition could only be pursued in a motion under 28 U.S.C. § 2255 and warned

Ochoa Munoz that, unless directed otherwise, the Court would interpret his petition as a § 2255

motion. See ECF No. 1317. Instead of responding directly to the order,1 Ochoa Munoz filed

another motion pursuant to § 2255 raising an additional three grounds for relief from his

sentence. See ECF No. 1319. These claims, unlike the claim in the first petition, do not purport




       1
         Because Ochoa Munoz did not object to the recharacterization of his petition for
certiorari as a motion under § 2255, the Court will treat the petition as such, and the petition will
be governed by same procedural limitations that govern § 2255 motions. Cf. United States v.
Lambros, 404 F.3d 1034, 1036 (8th Cir. 2005) (per curiam) (“It is well-established that inmates
may not bypass [statutory restrictions on § 2255 motions] by purporting to invoke some other
procedure.”).
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to be raised pursuant to Johnson.2 Id. Those motions are now pending and before the Court for

consideration.

       To begin, this Court notes that Ochoa Munoz previously sought relief under § 2255 in

2014. See ECF No. 1246. That motion was denied as untimely pursuant to § 2255(f), see ECF

No. 1252, as it was filed more than one year from the latest of:

                 (1) the date on which the judgment of conviction [became] final;

                 (2) the date on which the impediment to making a motion created
                 by governmental action in violation of the Constitution or laws of
                 the United States is removed, if the movant was prevented from
                 making a motion by such governmental action;

                 (3) the date on which the right asserted was initially recognized by
                 the Supreme Court, if that right has been newly recognized by the
                 Supreme Court and made retroactively applicable to cases on
                 collateral review; or

                 (4) the date on which the facts supporting the claim or claims
                 presented could have been discovered through the exercise of due
                 diligence.

Only § 2255(f)(1) was relevant to the § 2255 motion filed in 2014, as Ochoa Munoz did not

allege that the government had impeded his right to pursue collateral relief, was not invoking a

newly recognized right, and was not relying upon newly discovered facts. Because the 2014

motion was filed more than one year after the date on which Ochoa Munoz’s conviction became

final, he was ineligible for relief under § 2255.




       2
        Ochoa Munoz argues in his most recent motion [ECF No. 1319] that (1) the government
did not meet its burden of proof in establishing one of the enhancements applied by this Court
under the Sentencing Guidelines; (2) his sentence is discriminatory because, in his view, it is
disproportionate with the sentence of a co-conspirator; and (3) his attorney provided inadequate
assistance during plea negotiations.

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       Both of Ochoa Munoz’s pending motions, of course, were also filed more than one year

after the date on which the judgment of conviction became final. Neither § 2255(f)(2) nor

§ 2255(f)(4) are applicable to any of the more recent claims. Accordingly, the claims raised in

Ochoa Munoz’s two pending motions are timely only if they rely upon a right “newly recognized

by the Supreme Court and made retroactively applicable to cases on collateral review.” 28

U.S.C. § 2255(f)(3).

       The three claims in Ochoa Munoz’s most recent motion [ECF No. 1319] — that the

government did not meet its burden of proof, that his sentence was discriminatory, and that his

counsel was ineffective — could have been raised at any time following his conviction. Because

those claims are not based on rights newly recognized by the Supreme Court, they are governed

by § 2255(f)(1) and are untimely under that provision.

       The claim raised in Ochoa Munoz’s “petition for writ of [certiorari]” is putatively based

on Johnson, which established a new rule that has been recognized by the Supreme Court to

apply retroactively to cases on collateral review. See Welch v. United States, 136 S. Ct. 1257

(2016). Ochoa Munoz submitted his petition within one year of the Supreme Court’s decision in

Johnson. Accordingly, this claim might appear to be timely under § 2255(f)(3) at first blush,

although it is being raised well over a year after the date on which Ochoa Munoz’s conviction

became final.

       But despite the references to Johnson, Ochoa Munoz’s claim in actuality has little to do

with that case. Federal law prohibits felons from possessing firearms. See 18 U.S.C.

§ 922(g)(1). Usually, this offense is punishable by up to 10 years’ imprisonment, see 18 U.S.C.

§ 924(a)(2), but under the Armed Career Criminal Act (“ACCA”), a felon in possession of a


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firearm who has three previous convictions for violent felonies or serious drug offenses may be

imprisoned for life, and must be imprisoned for 15 years, see 18 U.S.C. § 924(e).

       The term “violent felony,” as used in § 924(e), is defined by that provision as

               any crime punishable by imprisonment for a term exceeding one
               year, or any act of juvenile delinquency involving the use or
               carrying of a firearm, knife, or destructive device that would be
               punishable by imprisonment for such term if committed by an
               adult, that —

                       (i) has as an element the use, attempted use, or
                       threatened use of physical force against the person
                       of another; or

                       (ii) is burglary, arson, or extortion, involves use of
                       explosives, or otherwise involves conduct that
                       presents a serious potential risk of physical injury
                       to another . . . .

18 U.S.C. § 924(e)(2)(B) (emphasis added). In Johnson, the Supreme Court found that the

language italicized above — the so-called residual clause of the ACCA — is unconstitutionally

vague. Convictions under the ACCA obtained through reliance upon the residual clause are

therefore invalid.

       Ochoa Munoz was not convicted under the ACCA; he pleaded guilty to possession of

cocaine with intent to distribute. Nor does Ochoa Munoz allege that he was unlawfully

sentenced under a provision like that struck down in Johnson and thus (perhaps) similarly

invalid.3 Instead, Ochoa Munoz argues against the Court’s application of U.S.S.G.


       3
        For example, § 4B1.1 of the United States Sentencing Guidelines creates enhanced
recommended sentences for “career offenders.” The definition of “career offender” provided in
§ 4B1.2(a) uses language identical to the now-invalidated residual clause of the ACCA. The
question of whether the § 4B1.2(a) residual clause is also invalid after Johnson is currently
before the Supreme Court. See Beckles v. United States, – S. Ct. – , 2016 WL 1029080 (June 27,
                                                                                      (continued...)

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§ 2D1.1(b)(1), which provides for a 2-point sentencing enhancement “[i]f a dangerous weapon

(including a firearm) was possessed” by the defendant during the commission of the offense.

       It is difficult to see what Johnson has to do with § 2D1.1(b)(1). Again, Johnson

invalidated the phrase “otherwise involves conduct that presents a serious potential risk of

physical injury to another” as used in the ACCA. That phrase does not appear in § 2D1.1(b)(1).

The only connection between Johnson and § 2D1.1(b)(1) is that both concern unlawful

possession of a firearm. But this glancing similarity, taken alone, does not transform Ochoa

Munoz’s claim that the Court should not have applied § 2D1.1(b)(1) at sentencing into a claim

under the new rule established by Johnson. Because the claim is not truly based upon Johnson,

it does not get the benefit of the new one-year limitations period established by § 2255(f)(3) and

is therefore, like Ochoa Munoz’s other claims, untimely.4

       Nevertheless, this Court does not dismiss Ochoa Munoz’s pending motions on the basis

of the limitations period. The Court has already explained that Ochoa Munoz previously filed a

motion under § 2255(f) that was dismissed as untimely. Under § 2255(h), “[a] second or

successive motion [under § 2255] must be certified as provided in section 2244 by a panel of the

appropriate court of appeals” before the petitioner may proceed in district court. Circuit courts

have generally concurred that a later petition for collateral relief is to be considered “second or


       3
        (...continued)
2016). Ochoa Munoz was found at sentencing to be a career offender, but the felony drug
offenses used to establish that enhancement did not fall within the residual clause of § 4B1.2(a),
and Ochoa Munoz does not challenge his designation as a career offender.
       4
        The claim also lacks merit. Although this Court did find that § 2D1.1(b)(1) applied to
Ochoa Munoz’s sentence, that finding was irrelevant to the disposition of this case, as Ochoa
Munoz was sentenced under the career-offender provision of the Sentencing Guidelines, which
ultimately superceded the application of § 2D1.1.

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successive” if an earlier petition is dismissed as untimely. See, e.g., McNabb v. Yates, 576

F.3d 1028, 1029-30 (9th Cir. 2009); Villanueva v. United States, 342 F.3d 55, 61 (2d Cir. 2003);

Altman v. Benik, 337 F.3d 764, 766 (7th Cir. 2003). The Eighth Circuit has agreed, albeit in an

unpublished decision. See Diaz-Diaz v. United States, 297 Fed. App’x 574, 575 (8th Cir. 2008)

(per curiam). Ochoa Munoz did not seek authorization from the Eighth Circuit before filing the

pending motions that seek to vacate, set aside, or correct his sentence. If his pending motions are

deemed “second or successive” under § 2255(h), then this Court cannot consider them until

Ochoa Munoz receives the necessary authorization from the Eighth Circuit. And because this

limitation is jurisdictional, see United States v. Lee, 792 F.3d 1021, 1022 (8th Cir. 2015), the

Court must dismiss the motions on that basis if the motions are, in fact, “second or successive.”

       This Court has addressed the issue of timeliness first, before the issue of whether Ochoa

Munoz’s motions are second or successive, because it is not altogether clear if the motions would

have been second or successive had those claims been governed by § 2255(f)(3). Many of the

cases finding that an earlier dismissal for untimeliness triggers the statutory limitations second or

successive petitions for collateral relief do so because, it is said, untimeliness is a procedural

hurdle that may never be overcome by the prisoner, and therefore a dismissal for untimeliness

constitutes a disposition on the merits. See McNabb, 576 F.3d at 1030 (“[D]ismissal of a first

habeas petition for untimeliness presents a ‘permanent and incurable’ bar to federal review of the

underlying claims. . . . We therefore hold that dismissal . . . for failure to comply with the statute

of limitations renders subsequent petitions second or successive . . . .” (Citation omitted));

Villanueva, 342 F.3d at 61 (“[U]nlike cases where a habeas or § 2255 petition is dismissed

without prejudice for failure to exhaust or as premature, a time-bar cannot be corrected.”);


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Altman, 337 F.3d at 766 (“Mr. Altman can do nothing to correct his late filing, and if he refiled

his petition the district court would again deny it as untimely.”); Thompson v. United States,

No. 4:10CV1571 CDP, 2011 WL 6217065, at *2-3 (E.D. Mo. Dec. 14, 2011). But this assumes

that a claim’s timeliness will forever be governed only by § 2255(f)(1); after all, the date on

which a conviction becomes final may only slip further into the past, and a prisoner cannot go

back in time to file a petition closer to that date.

        The vast majority of claims brought pursuant to § 2255 are governed by § 2255(f)(1), and

so a finding of untimeliness under that provision will usually act as a “permanent and incurable”

bar. McNabb, 576 F.3d at 1030. Not always, though. Had Ochoa Munoz in his first § 2255

motion submitted a claim for relief setting forth the arguments vindicated in Johnson, that claim

would have been denied, like the others, as untimely under § 2255(f)(1). The claim would not

yet have been on the basis of a new rule made retroactive to cases on collateral review, as

Johnson had not yet been decided; Ochoa Munoz would be seeking an extension of the law, not

the application of a non-yet-existing new rule. After Johnson was decided, though, the claim

would be relying upon a newly recognized right, and § 2255(f)(3) would provide an additional

year in which to assert the claim.

        In other contexts, motions for collateral relief are sometimes not treated as “second or

successive” where a purely procedural limitation has since been removed. For example,

prisoners held pursuant to a criminal judgment entered in state court usually must first exhaust

available remedies in state court before seeking federal habeas corpus relief. See 28 U.S.C.

§ 2254(b). A habeas petition containing claims that have not been (but still could be) exhausted

in the state courts must be dismissed without prejudice. See Rose v. Lundy, 455 U.S. 509 (1982).


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Where a prisoner’s first habeas petition is dismissed for failure to exhaust, a subsequent habeas

petition is not “second or successive” and therefore does not require pre-authorization from the

applicable court of appeals. See Slack v. McDaniel, 539 U.S. 473, 488 (2000).

       A scenario where a petitioner’s first motion under § 2255 is dismissed for untimeliness,

but a claim available to that petitioner later becomes timely under § 2255(f)(3), is not altogether

dissimilar. At a minimum, the most commonly provided explanation as to why a finding of

untimeliness constitutes a finding on the merits (and thus that a subsequent motion for collateral

relief requires authorization) — the permanence of the procedural barrier — does not apply. If

the second-filed motion under § 2255 is “second or successive,” it cannot be solely because the

limitations period is insuperable, since that hurdle will, in fact, have been overcome.

       All that said, the Court need not (and does not) answer at this time the question of

whether a prisoner’s second-filed § 2255 motion is “second or successive” within the meaning of

the statute when (1) the prisoner’s previous § 2255 motion was dismissed solely for untimeliness

and (2) the claim raised in the second-filed motion is timely under § 2255(f)(3). The claims

raised in Ochoa Munoz’s pending motions, despite his invocations of Johnson, are not based on

a right “newly recognized by the Supreme Court and made retroactively applicable to cases on

collateral review.” 28 U.S.C. § 2255(f)(3). Each of the claims brought by Ochoa Munoz is

governed by § 2255(f)(1) and is therefore raised within a “second or successive” § 2255 motion.

See Diaz-Diaz, 297 Fed. App’x at 575. This Court therefore lacks jurisdiction to adjudicate

those motions, as the Eighth Circuit has not authorized the claims. Further, the Court will not

transfer the motions to the Eighth Circuit for consideration of whether to authorize the claims,

which do not meet the criteria for second or successive motions for relief under § 2255. See 28


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U.S.C. § 2255(h). And because it is highly unlikely that any other court, including the Eighth

Circuit, would grant Ochoa Munoz relief, this Court will not issue a certificate of appealability.

See 28 U.S.C. § 2253(c)(1); Fed. R. App. P. 22(b)(1); Slack, 529 U.S. at 484 (2000).

                                              ORDER

       Based on the foregoing, and on all of the files, records, and proceedings herein, IT IS

HEREBY ORDERED THAT:

       1.      Defendant Emeterio Ochoa Munoz’s motions for relief under 28 U.S.C. § 2255

               [ECF Nos. 1316 & 1319] are DISMISSED WITHOUT PREJUDICE FOR LACK

               OF JURISDICTION.

       2.      No certificate of appealability will issue.

       LET JUDGMENT BE ENTERED ACCORDINGLY.


 Dated: July 29, 2016                              s/Joan N. Ericksen
                                                   Joan N. Ericksen
                                                   United States District Court Judge




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